       Case 1:06-cr-00028-DHB-BKE Document 58 Filed 04/18/16 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                                                                                        18 Pfi
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                             CLEkK          <x
                                   AUGUSTA DIVISION

JEREMIAH LANE,

              Petitioner,

       V.                                                CV 116-006
                                                         (Formerly CR 106-028)
UNITED STATES OF AMERICA,

              Respondent.


                                         ORDER




       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed. (Doc. no, 7.)

Accordingly, the Court ADOPTS the Report and Recommendation of the Magistrate Judge

as its opinion, DENIES AS MOOT Petitioner's motions to appoint counsel and for an

evidentiary hearing (doc. nos. 2, 3), and DISMISSES the instant petition brought pursuant to

28U.S.C. § 2255.

       Further, a federal prisoner must obtain a certificate of appealability ("CCA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing of the denial ofa constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the
       Case 1:06-cr-00028-DHB-BKE Document 58 Filed 04/18/16 Page 2 of 2




standards enunciated in Slack v. McDaniel. 529 U.S. 473, 482-84 (2000), Petitioner has

failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.'

Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma paiiperis.

See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action and DIRECTS the Clerk to

enter final judgment in favor of^^sptmdent.

       SO ORDERED this
                    lis(^ day of April, 2016, at Augusta, Georgia.




                                    UNITED STATES DISTRICT JUDGE




       '"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
